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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 Global Interactive Media, Inc.,

                Plaintiff,                       Case No. 1:17-cv-

        v.
                                                 JURY TRIAL DEMANDED
 AMC Networks Inc.,

                Defendant.

                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Global Interactive Media, Inc. (“GIM”) brings this patent-infringement action

against AMC Networks Inc. (“AMC”).

                                             Parties

       1.      GIM is a Belizian corporation based in Belize.

       2.      AMC is a Delaware corporation, having its principal place of business in New

York, New York.

                                    Jurisdiction and Venue

       3.      This action arises under the patent laws of the United States, 35 U.S.C. §§ 101 et

seq.

       4.      This Court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331

and 1338(a).

       5.      This Court may exercise personal jurisdiction over AMC. This is because AMC

conducts continuous and systematic business in Illinois and this District. For example, AMC sells

services to AMC customers in this District. This patent-infringement claim arises directly from

AMC’s continuous and systematic activity in this District. In short, this Court’s exercise of

jurisdiction over AMC would be consistent with the Illinois long-arm statute, 735 ILCS § 5/2-209,
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and traditional notions of fair play and substantial justice.

       6.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2).

                      Count 1 – Infringement of U.S. Patent No. 7,574,721

       7.      GIM owns United States Patent 7,574,721 (the “‘721 patent”) (attached as Exhibit

A).

       8.      AMC is infringing at least one of the 35 methods and systems claimed in the ‘721

patent by providing the AMC TV Listings service.

       9.      For example, and for illustration of one of the 35 claims of the ‘721 patent that GIM

alleges the AMC TV Listings service infringes, the service infringes claim 1 of the ‘721 patent as

follows:

               a.      Claim 1 is a “method for identifying at least one broadcast provider through

       a combination of a geographic identification code and a broadcast identifier, the method

       comprising: digitally storing, in a database, one or more geographic identification codes

       that are each associated with at least one area or location in which a broadcast is receivable

       from at least one broadcast provider[.]” (Ex. A, 17:44-50.) The AMC Channel Finder

       service digitally stores zip codes in a database, which are associated with service areas in

       which AMC broadcasts are receivable.

               b.      Claim 1 involves “digitally storing, in the database, one or more broadcast

       identifiers that are each associated with at least one broadcast provider[.]” (Ex. A, 17:51-

       53.) The AMC Channel Finder service digitally stores in a database broadcast identifiers

       (e.g., Layer3, RCN, DISH, etc.) that correspond to the service providers that carry AMC’s

       broadcasts.

               c.      Claim 1 involves “receiving at least one user related geographic



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identification code[.]” (Ex. A, 17:54-55.) The AMC Channel Finder service receives a user

related geographic identification code when the user enters her zip code into the service

website, 60606 for example.

       d.      Claim 1 involves “determining, by a processor, a subset of data from the

database using the received at least one user related geographic identification code, the

subset of data comprising at least one of the stored one or more broadcast identifiers that

are associated with at least one of the stored one or more geographic identification codes

that corresponds to the received at least one user related geographic identification code[.]”

(Ex. A, 17:60-67.) The AMC Channel Finder service determines by processor, using the

user’s zip code, a subset of data comprising stored broadcast identifiers (e.g., Layer3, RCN,

DISH, etc.) that correspond to the service providers that carry AMC’s broadcasts within

the user’s service area.

       e.      Claim 1 involves “receiving at least one user related broadcast identifier[.]”

(Ex. A, 17:56.) The AMC Channel Finder service receives a user related broadcast

identifier when the user selects her service provider (e.g., DISH).

       f.      Claim 1 involves “identifying, by the processor, at least one broadcast

provider using at least both the subset of data and received at least one user related

broadcast identifier[.]” (Ex. A, 18:1-3.) The AMC Channel Finder service—using the

subset of data based on the user’s zip code and the user-related broadcast identifier of

service provider—identifies, for example, DISH as a broadcast provider of AMC

programming on Channel 131.

              Count 2 – Infringement of U.S. Patent No. 8,032,907

10.    GIM owns United States Patent 8,032,907 (the “‘907 patent”) (attached as Exhibit



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B).

       11.     AMC is infringing at least one of the 90 methods and systems claimed in the ‘907

patent by providing the AMC Scheduler service.

       12.     For example, and for illustration of one of the 90 claims of the ‘907 patent that GIM

alleges that the AMC Scheduler service infringes, the service infringes claim 18 of the ‘907 patent

as follows:

               a.     Claim 18 claims a “method for providing recipients of a broadcast with

       automated information about program material, the method comprising: broadcasting

       program material in at least one broadcast[.]” (Ex. B, 19:13-16.) The AMC Scheduler

       service provides viewers of television programs with automated information about

       programs broadcasted by AMC. For example, a user may use the service to obtain

       automated information about program material to be broadcast tomorrow evening, which

       may be, for example, the movie First Blood.

               b.     Claim 18 includes the step of “receiving one or more user inquiries from

       one or more recipients of said at least one broadcast, said one or more inquiries including

       broadcast identifier information[.]” (Ex. B, 19:17-19.) A user may access the AMC

       Scheduler service’s website and inquire about the program material to be broadcast

       tomorrow evening. The inquiry includes broadcast identifier information when the user

       enters the date for which she would like to inquire about programming—tomorrow night.

               c.     The method of claim 18 involves “creating a program description file

       comprising program information related to program material to be broadcast in the

       future[.]” (Ex. B, 19:20-22.) AMC created a program description file describing the film

       First Blood: “Rambo (Sylvester Stallone) takes on sheriff (Brian Dennehy) and National



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       Guard.”

               d.     Next, claim 18 involves “communicating the program information into a

       programmed data processor[.]” (Ex. B, 19:23-24.) The AMC Scheduler service user is able

       to learn about First Blood because AMC has a programmed data processor that

       communicates the program information to the AMC Scheduler service.

               e.     Claim 18 involves “synchronizing said communicated program information

       with said program material of said at least one broadcast[.]” (Ex. B, 19:25-26.) AMC

       synchronizes the program information with the broadcast of First Blood tomorrow night.

               f.     Claim 18 involves “using said data programmed data processor to

       communicate, to the one or more recipients, program information that corresponds to the

       broadcast identifier information included in said one or more inquiries, wherein at least

       one of the program description file, the program information, and the synchronized

       program information is associated with the broadcast identifier information.” (Ex. B,

       19:28-35.) The AMC Scheduler service communicates to the user that First Blood will be

       broadcast by AMC tomorrow night, and that “Rambo (Sylvester Stallone) takes on sheriff

       (Brian Dennehy) and National Guard.”

                     Count 3 – Infringement of U.S. Patent No. 6,314,577

       13.     GIM owns United States Patent 6,314,577 (the “‘577 patent”) (attached as Exhibit

C).

       14.     AMC is infringing at least one of the 130 methods and systems claimed in the ‘577

patent by providing the AMC Scheduler service.

       15.     For example, and for illustration of one of the 130 claims of the ‘577 patent that

GIM alleges the AMC Scheduler service infringes, the service infringes claim 94 of the ‘577 patent



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as follows:

              a.      Claim 94 is a “method for providing listeners or viewers of a radio or

       television broadcast with automated information about program material, comprising the

       steps of: broadcasting at least one radio or television broadcast[.]” (Ex. C, 23:15-18.) The

       AMC Scheduler service provides viewers of television programs with automated

       information about programs broadcasted by AMC.

              b.      Claim 94 involves “receiving user inquiries from a listener or viewer of said

       radio or television broadcast[.]” (Ex. C, 19-20.) A user may access the AMC Scheduler

       service’s website and inquire about a television program she is viewing on AMC at 7:00

       p.m. CST.

              c.      Claim 94 involves “creating a program description file[.]” (Ex. C, 23:21.)

       The user inquiring about the program broadcast by AMC at 7:00 p.m. CST would learn

       that the program is the movie Predators, in which: “A mercenary (Adrien Brody) and his

       comrades fight for survival against a band of alien hunters.”

              d.      The method of claim 94 involves “communicating program list information

       into a programmed data processor[.]” (Ex. C, 23:22-23.) AMC communicates into the

       AMC Scheduler service’s programmed data processor a list of programs to be aired so that

       the service may display a list of scheduled programs.

              e.      Claim 94 involves “correlating said program descriptions of program

       material with said program list information and generating information in a database

       responsive to only a broadcast identifier[.]” (Ex. C, 23:24-27.) AMC correlates the

       description of Predators to the list of scheduled programs so that the description is

       correlated and responsive to the 7:00 p.m. identifier of Predators.



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             f.      Claim 94 involves “using said programmed data processor to communicate

      said program description file responsive to said user inquiry.” (Ex. C, 23:28-30.) The AMC

      Scheduler service uses the data processor to communicate the description of Predators to

      the user when the user accesses the service during the 7:00 p.m. CST broadcast of

      Predators to inquire about the program.

                                      Prayer for Relief

      WHEREFORE, GIM prays for the following relief against AMC:

      (a)    Judgment that AMC has directly infringed claims of the’721 patent, ‘907 patent,

             and the ‘577 patent;

      (b)    For a reasonable royalty;

      (c)    For pre-judgment interest and post-judgment interest at the maximum rate allowed

             by law; and

      (d)    For such other and further relief as the Court may deem just and proper.

                                    Demand for Jury Trial

      GIM demands a trial by jury on all matters and issues triable by jury.


Date: February 8, 2017                       Respectfully Submitted,

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